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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

CHARLES GILMER,

P]aintiff,

\/S. NO. 0 l ~2760-1\/121

MEMPHIS QUEEN LINES, INC.,ET AL.,

Defendants.

 

ORDER RE-OPENING CASE AND SETTING STATUS CONFERENCE

 

Bet`ore the court is Plaintiff"S April 26, 2005 notice that bankruptcy proceedings are
complete For good cause Shown, this case is re-opened and the court Will hold a Status conference
on Wednesday, June 15, 2005, at 9:00 a.m.

IT rs So oRDERED this l W\day OfMay, 2005.

M/m~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT .TUDGE

 

This document entered on the docket ehth in compliance
with nme 58 and/or 79(3) FHCP on 5 ¢ZO-O.Q

 

 

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This notice confirms a copy of the document docketed as number 43 in
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Honorable Samuel Mays
US DISTRICT COURT

